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Ao 91 (Rev. 11/82) ' CRIMINAL COMPLAINT
UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
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kTEOFIL BRANK’ b MAGIS'I‘RATE’S CASl'-; No, n ' ` §

a a “Jarec Wentworth” §

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§
Complaint for violation of Title 18, United States Code, Se ,ti,dri‘875(d)`%7£"

 

 

 

 

 

 

NAME or MAGis'rRA'rE JUDGE UNITED STATES 1;,ocA'1'loN
HONORABLE MICHAEL R. WI_LNER MAGISTRATE JUDGE Los Angeles, California
DATE oF oFFENsE PLAcE or oFFENsE ADDREss oF AccUsED (IF KNoWN)

March 4, 2015 ~ Los Angeles County

 

 

 

COMP].,AINAN']"S S'l`A'I`EI\/[EN'[` OF FAC'|`S CONS'[`I'[`U'I`ING 'I`l'{E O'["FENSE OR VlOl.,A'I`[ON:

[18 U.s.C. § 875(d)]

, Begilming on Febiuaiy 16, 2015 and continuing until March 4, 2015, in Los Angeles County, Within the
Cent1 al D1st1 ict of California, and elsewhere, defendant TEOFIL BRANK, With intent to extort from another
person money and other things of value, knowingly transmitted 1n interstate commerce a communication, that is
an electronic text message communication from a cellula1 telephone a threat to injure the reputation or another

person, in vin}atioar@f 18 U. S C § 875(d).
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BAsIs oF coMPLAINANT’s cHARGE AGAINST THE AccusED;
(See attached affidavit Which is incorporated as part of this Complaint)

 

MATERIAL WITNEssEs rN RELATION To THIs cHARGE: N/A

B ' d l l d l th it th S[GNATUR-E OF COM,P]_,A|NAN']~ J 1
€lng u y SWOrn, ec 316 a e JAIME AGUI ’ JR. § ;

foregoing is true_and correct to the best
of my knowledge

 

 

oFFicrAL TITLE
Special Agent ~ Federal Bureau Of Investigation

 

 

Sworn to before me and subscribed in m}1 p§§es|ence,/

slGNA'rURE or MAG]s'rRA'rE Jul)Glj~:(“ /§/L/ 4 1)A'1'E
` uscHAELRwlLN:~:R March 6, 2015

w See Federal Rules of Criminal Procedure 3 and 54'

AUSA Kimberly D. Jaimez x3779 REC: Detention KJ

 

 

 

 

 

 

 

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AFFIDAVIT

I, Jaime Aguirre, Jr., having been duly sworn, declare and
state as follows:

I. INTRODUCTION

1. I am currently a Special Agent ("SA") with the Federal
Bureau of Investigation ("FBI"), United States'Department of
'Justice, Los Angeles Field Office, and have been so employed
since June 2014.' I am an investigative and law enforcement
officer of the United States within the meaning of Title 18,
United States Code, Section 2510(7), and I am empowered by law
to conduct investigations of, and to make arrests for, the
offenses enumerated in Title 18, United States Code, Section
2516.

2. As an FBI Special Agent, l received training at the
FBI Academy located in Quantico, Virginia. Since November 2014h
I have been assigned to the FBI's Los Angeles Division Violent
Crime Squad. The Violent Crime Squad handles extortions, bank
robberies, kidnappings, crimes against children, fugitives, and
transportation crimes. ln my assignment, I have participated in
previous investigations concerning extortion victims. These
investigations have included, among other things, participation
in physical surveillanceL execution of arrest/search warrants,
handling of confidential informants and sources of information,
arrests of-violent crime offenders, as well as interviews of

witnesses and defendants. I have also spoken on numerous

 

 

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occasions with law enforcement officers and experienced

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investigators concerning the methods and practices of

individuals involved in extortion schemes.

3. k The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the criminal complaint and
search warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.

II. PURPOSE OF AFFIDAVIT

45 This affidavit is made in support of:

a. a criminal complaint charging Teofil BRANK also
known as Jarec Wentworth (“BRANK”), for a violation of Title 18,

'United States Code, Section 875(d): Interstate Communications

Containing Threats to Injure the Property or Reputation of
Another; and'

b. a warrant to search the cellular telephone of
BRANK described in paragraph 9 and.Attachment A, which was
discovered at the time of his arrest on March`4, 2015, for a
violation of Title 18, United States Code, Section 875(d):
Interstate Communications Containing Threats to Injure the
Property or Reputation of Another.

5. I make this affidavit based upon, among other things,

personal knowledge derived from my participation in this

[Instrumentality Protocol]

 

 

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investigation and upon information from multiple sources that I
believe to be reliable, including the following:

a. My training and experience investigating violent
crimes generally, and extortion schemes specifically;

b. Oral reports and documents about this
investigation, which I have received and reviewed from other FBI
agents and other law enforcement officials;

c. yInterviews with the Victim conducted by other FBI
agents and law enforcement officials, the results of which have

been reported to me either directly or indirectly;

d, Public records and databases; and
e. Text messages.
6. The facts set forth in this affidavit are based upon

my personal observations and, where noted, information relayed
to me by other law enforcement officials. I have set forth only
those facts that I believe are necessary to establish probable
cause to support the arrest and requested search warrant.

7. Because this affidavit is being submitted for the
limited purpose of obtaining the criminal complaint and search
warrant discussed herein, I have not included each fact known to
me concerning this investigation. Rather, I have provided the
facts that l believe establish probable cause. Unless
specifically indicated otherwise; all statements described

herein are related in sum and substance only.

[Instrumentality Protocol]

 

 

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III. TARGET ARRESTED & PREMISES TO BE SEARCHED

8. il make this affidavit in support of a criminal
complaint against Teofil BRANK. t

9. The item to be searched is described in Attachment A
and as follows: a black Samsung Galaxy Note 3, phone number
916-420-7906, identified by the serial number RviDA4B75vz, and
International Mobile Equipment Identity (IMEI) number:
357518051898922/03 (the “SUBJECT TELEPHONE”). The SUBJECT
TELEPHONE is currently in the possession of the FBI, in Los
Angeles, and was discovered at the time of BRANK’s arrest on
Mareh 4, 72015, for a violation of Title 18, United states code,
Section 875(d): Interstate Communications Containing Threats to

Injure the Property or Reputation of Another.

Iv§ ITEMS To BE sEIzED

15. The items to be seized are described in Attachment B,
which is incorporated herein by reference§ and are evidence of
violations of Title 18, United States Code, Section 875(d):
Interstate Communications Containing Threats to Injure the

Property or Reputation of Another._

V. STATEMENT OF PROBABLE CAUSE

 

11. On March 3, 2015, the Victim made contact with the Los
Angeles FBI office and FBI agents interviewed him regarding an
extortion scheme in which he was victimized. According to the
Victim, BRANK threatened to disclose embarrassing, sexual y

information about the Victim if the Victim refused to comply

[Instrumentality Protocol]

 

 

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with BRANK’s continuous demands. By the time the Victim met
with FBI agents, including myself, the Victim had already

conceded to several such demands,

 

A. ~ Victim's initial Interview with FBI Agents~

121 During the March 3, 2015 meeting at the FBI's Los
Angeles Field Office, the Victim informed me and other FBI
agents of the following:_ . v l

a. Between February 16, 2015, and February 28, 2015,
the Victim received text message communications on his cellular
phone from BRANK containing extortion demands. For each of
these text messages, BRANK utilized phone number 916-420-7906.

These extortion demands were received by the Victim while he was

in multiple states including, but not limited to, Washington,

Oregon, California, Mississippi, Florida, and New York. Upon

information and belief, BRANK sent the text messages from phonel ` -
916-420-7906 to the Victim while BRANK was in California.

b. BRANK threatened to publicize, through social
media, details about the Victim’s sexual liaisons. v
Specifically, BRANK initiated the extortion scheme by posting a
comment on Twitter, a social media online website, in which‘

BRANK alluded to embarrassing information about the Victim's
sexual past.

n cr The Victim became aware of the social media
message and responded by entertaining the demands of BRANK in
order to prevent further damage to his reputation and to

mitigate the perceived harm.

[Instrumentality Protocol]

 

 

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d. On February 16, 2015, BRANK sent the Victim text
messages demanding that-the Victim wire funds to BRANK. To
vfacilitate the transfer, BRANK sent the Victim routing number

121000248 and bank number 8110313197 via text message. BRANK

 

further demanded that the Victim turnover his Audi RS in order
to prevent future social media postings or other defamatory
information from being released.

e. In response_to these messages, the'Victim allowed
BRANK to take possession of his Audi-Rs, valued at approximately
$1§0,000 on February 16, 2015; and on February 17, 2015, the
Victim wired BRANK $500,000 in order to meet BRANK's demands and
prevent future social media postings or other defamatory

' information from being released.

Bi February 2015 Text Messages

13. lThe text messages between BRANK and the Victim were ' §-
extracted by the Victim’s private investigative firm and .
provided to FBI agents during the March 3, 2015 meeting.. The
text messages corroborate the Victim's above account and
demonstrate that BRANK was threatening to damage the Victim's
vreputation through the use of his Twitter account. lBRANK
informed the Victim that he was prepared to injure the
reputation of the Victim if money and other things of value were

not provided to BRANK. The text messages also confirm that the

Victim'agreed to concede to BRANK’s demands.

[Instrumentality Protocol]

 

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' 14. Specifically, BRANK sent the following messages to the
Victim while the Victim was located in the states of Washington,
Oregon, California, Mississippi, New York, and Florida:

a. 2/16/2015: “I do have a twitter and your photos.

 

Lies can be made or Maybe it”s the truth”

b. 2/16/2015: “Check my twitter, the conversation
will grown [sic] and questions will be asked. You
lied to me and treated me like Shit. I asked l
again and you put it behind you. Now it's biting
your ass”

c. 2/16/2015: ¥I can't get friendship anymore,
because who will want to be friends with black
mail. I only wanted to drive cars and Enjoy your
company. I guess findin you boys is out of the
picture So it leaves me with Nothing to want out

,of'thisi So I'm just going to bite hard. You got
money but I Don’t want that. Money won't wash
away What people will read and see of you. Wow I
guess I hold the cards right now”

d. 2/16/2015: “I want a new car, motorcycle and both

hands full of cash”

e.- 2/16/2015: “It's the car or another 250,000 cash.
Taxes”

f. 2/16/2015: “How do I know you won't report me for
extortion”

g. 2/19/2015: “I'll pick up the title in person. I

Don’t want to keep taking more and more. I'm

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[Instrumentality Protocol]

 

 

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investing half into a business. I want to be
happy and satisfiedl Throw me another half mill.
We will,be done for sure. No more asking and
taking. My word and promise”

h. 2/19/2015: “No twitter no Nothing. All gone and
safe for you. This will make me disappear”

i. 2/24/2015: “[Victim] I'm in love with the car”

j. 2/24/2015: “I’ll get the title tomorrow”

k. , 2/26/2015: “What is going on with everything? I'm
tired of Waiting and Not getting anything done
with you” '

15. According to the Victim, over the days following the
above text message exchange, the Victim continued communicating
with BRANK regarding additional demands and the title to the
Audi. However, instead of making additional payments or
concessions to BRANK, the Victim decided to contact the FBI
through his counsel. This decision led to the March 5, 2015
l meeting.

C, March 2015 Text Messages

16. During the March 3, 2015 meeting with FBI agents, the
Victim received additional text messages from BRANK demanding a
' condominium and an additional monetary sum of $300,000. BRANK
then changed his demand to $1,000,000 cash. With the Victim's
consenti FBI Agents witnessed the exchange of these text

messages between the Victim and 916-420-7906§.

[lnstrumentality Protocol]

 

 

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‘17. Specifically text messages to the Victim from BRANK on
March 3, 2015, contained the following messages while the Victim

was in California:

a. 3/3/2015i “New deal”

b. _3/3/2015: “Account will be deleted if new deal is
- reached.”

c. 3/3/2015: “I want a condo here in LA. Bachelor

pad. You have a taste 1 like. 2 bed Max. Perfer
[sic] one. I want 300,000.00 cash. You can and
will. I want this over ASAP like yesterday. So

you can be at peace.”

 

d. 3/3/2015: “They go for more though”
e. 3/3/2015: “1 mill cash” n

18, On March 3) 2015, the Victim, in conjunction with FBI
agents including myself, sent BRANK text messages in which the
Victim agreed to meet with BRANK to ostensibly turn over the
$1,000,000 in Cash and the title for the Audi. Via text n
message, BRANK and the Victim agreed to meet the following day,
on March 4, 2015,

19. The following day, March 4, 2015, BRANK instructed the
VICTIM via text message, to meet at the.Grove, a shopping center
located at 189 The Grove Drive Los Angeles, Ca 90036. The
Victim immediately shared this text with FBI agents including
myself.

20. In response to BRANK's message, at the FBI’s
direction, the Victim sent BRANK a text message requesting a

different meeting location: a Starbucks in El Segunda,~CA§ In

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[Instrumentality Protocol]_

 

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conjunction With the FBI agents, the Victim also told BRANK, via
text message, that a “trusted friend” would make the delivery on
his behalf. Because the Victim feared BRANK and feared for'his
safety, I and fellow FBI agents decided to send an undercover
“agent; who would make the delivery on behalf of the Victim

before the arrest._

D. _ Recorded Phone Call

 

21. On March 4, 2015, at approximately 7:51 p.m., BRANK'
called the Victim, while the Victim was with me at the FBI’s
_office, to discuss the change of location.

22. During a recorded conversation, BRANK indicated
concerns about the change in venue and concern about the Victim
sending a “friend.” vSpecifically, BRANK stated: “I don't Wanna
walk up there and f*ckin' all of a sudden it's the Fed or
something or some bullsh*t, something happens and I'm ftcked.” _

23. In response, the Victim indicated to BRANK that the
VICTIM would be comfortable with BRANK bringing a friend to the
meeting, and then informed BRANK of the exact address of the
Starbucks locations The conversation then ended.

24. .After the phone call, Victim sent BRANK a text message
-with the address of Starbucks located at 530 N. Sepulveda Blvd.,

El Segundo, CA 90245.

E. Meeting & Recovery of the Audi

25. At approximately, 8:30 p.m; on March 4, 2015, an
undercover FBI agent met with BRANK at the Starbucks located 530

N. Sepulveda Blvd in Los Angelest The conversation between

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[Instrumentality Protocol]

 

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BRANK and the undercover agent was recorded; the events of the
evening were observed by other FBI agents, including FBI Special
Agents Michael Winning and Jonathan Bauman. The undercover
agent relayed the following information to me regarding the
March 4, 2015 meeting and subsequent developments:

a. During a recorded conversation (that commenced
at approximately 8:30 p.m. on March 4, 2015) the undercover FBI
agent, acting as the Victim's friend, handed BRANK the title to
the Audi and explained to BRANK the process of transferring
title of the Audi into BRANK's name. The undercover agent

ripped off the top part of the title and gave the bottom half to

 

BRANK. Subsequently, the undercover agent and BRANK began
discussing the remaining part of the transaction (i.e.;
$1,000,000).

b. The undercover agent then left the Starbucks,
followed by BRANK, to recover the funds from his car, The
undercover agent led BRANK to the trunk of his car and indicated
to BRANK that the money was in a bag in the trunk of the car.v
While BRANK and the agent were discussing the bag, agents
arrived and arrested BRANK.

c. _ After BRANK was placed into handcuffs, FBI agents
made contact with an individual (later identified as Etienne
Yim) sitting in a 2014 Ford hatchback car in the Starbucks
parking lot and questioned him about his purpose there. During{
questioning, FBI agents discovered that Yim was present to
accompany BRANK during the transaction. ~Yim admitted to being

an associate of BRANK and admitted to knowing about the

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[Instrumentality Protocol]

 

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extortion scheme. Yim met with agents, later that evening, and
confirmed that the text messages were sent from BRANK's SUBJECT
TELEPHONE to the ViCtim. n

d. Yim also informed FBI agents that BRANK (i) asked
Yim to drive to the Starbucks that evening and (ii) asked Yim to
bring a gun for BRANK”s protection. Agents searched the car in
which BRANK and Yim arrived at the Starbucks and discovered (i)
a Colt Magnum 357 revolver along with six rounds of Winchester
.38 special ammunition and (ii) a Samsung smartphone, the
SUBJECT TELEPHONE, corresponding to the 916-420~7906 phone
number, that is, the number that had been sending demands to the
Victim via text message, Yim confirmed that the SUBJECT
TELEPHONE belonged to B§ANK and BRANK asked him to send the
Victim a message confirming that they had arrived at the
Starbucks.

l e. Yim, who has no criminal history, claims that he
did not actively assist in the extortion scheme, beyond driving
BRANK to the Starbucks and obtaining a weapon for BRANK’s use.
Yim further informed FBI agents that BRANK had deposited
$400,000 of the funds into a Wells Fargo savings account and
obtained a Wells Fargo Euro currency credit card ito facilitate

travel to and in Europe). Finally, Yim informed agents where

BRANK had been staying and storing the Audi.

f. On March 5, 2015, FBI agents recovered the Audi

from the location disclosed by Yim.'

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[Instrumentality Protocol]

 

 

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VI. PROBABLE CAUSE FOR ITEMS TO BE SEIZED_

26. Based on the evidence described above, I believe that
it is highly probable that fruits, instrumentalities, and
evidence of violations of Title 18, United States Code, Section
875 will be found on BRANK's Samsung cell phone, that is, the
SUBJECT TELEPHONE. Based upon my training and experience, I
have reason to believe the items and records (i.e», text
messages and call history) described above and in Attachment B

` to this affidavit will be found en the sUBJEc'r TELEPHONE.

*27. Based on my training, experience and general knowledge
of the prevalent use of digital devices, I believe that most of
the aforementioned items are stored electronically. Indeed,
nearly all of the extortion demands were made by communications
between BRANK and the Victim during February 2015 and March 2015
and occurred almost exclusively via mobile telephone, by voice
as well as through text message. Thus, it is likely that the
SUBJECT TELEPHONE will provide evidence, fruits, or
instrumentalities of violations of Title 18, United States Code,‘
Section 875(d): Interstate Communications Containing Threats to
Injure the Property or Reputation of Another.

28, _Based upon my training, experience, knowledge of this
investigation, and conversations with other experienced
investigators regarding extortion schemes, I know that extortion
demands are commonly made via mobile devices.

29. 1 know that those involved in extortion frequently use
cellular telephones in furtherance of their crimes to

communicate, and frequently store names, addresses and telephone

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[Instrumentality Protocol]

 

 

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numbers of others involved in the trade as well as those of
their victims. l

30. Additionally, I know that those involved in such
criminal schemes frequently store notes and other pertinent
information about their illegal schemes, within their cellular

devices,

 

31. I am also aware of cases where those involved in
extortion schemes, such as here, send text messages to each
other related to the criminal activity. I believe these text
messages couldj among other things, assist law enforcement
agents in their efforts to identify other co~conspirators.

32.

VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

33. As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing l :_
data in digital form, including central processing units;
desktop, laptop,'notebook! and tablet computers; personal
digital assistants; wireless communication devices, such as
telephone paging devices, beepers, mobile telephones, and smart
phones; digital cameras; peripheral input/output devices, such
as keyboards, printers, scanners, plotters, monitors, and drives
intended for removable media; related communications devices,
such as modems, routers{ cables, and connections; storage media,
such as hard disk drives, floppy disks, memory cards, optical
disks, and magnetic tapes used to store digital data (excluding
analog tapes such as VHS); and security devices, Based on my

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[Instrumentality Protocol]

 

 

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knowledge, training, and experience, as well as information
related to me by agents and others involved in the forensic
examination of digital devices, l know that data in digital form
can be stored on a variety of digital devices and that it is not
always possible to search digital devices for digital data in a
single day or even over several weeks for~a number of reasons,
including the following:

a. Searching digital devices can be a highly

 

technical process that requires specific expertise and
specialized equipment. There are so many types of digital
devices and software programs in use today that it takes time to
conduct a thorough search., In addition, it may be necessary to
consult with specially trained personnel who have specific
expertise in the type of digital device, operating system, and
software application being searched. d
v b. _ Digital data is particularly vulnerable to
inadvertent or intentional modification or destruction.
Searching digital devices can require the use of precise,
scientific procedures that are designed to maintain the`
iintegrity of digital data and to recover “hidden,” erased,
compressed, encrypted, or password-protected data. As a resultv
- a controlled environment, such as a law enforcement laboratory
or similar facility, is essential to conducting a complete and
accurate analysis of data stored on digital devices.
c. Electronic files or remnants of such files can be
recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet.

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' [Instrumentality Protocol]

 

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Electronic files saved to a hard drive can be stored for years
with little or no cost. Even when such files have been deleted,
they can be recovered months or years later using readily-

available forensics tools. Normally, when a person deletes a

 

file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the hard drive
until it is overwritten by new data. Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space,'i.e., space on a hard drive that is not allocated to an
active file or that is unused after a file has been allocated to
a set block of storage space, for'long periods of time before
they are overwritten. In addition, a computer’s operating
system may also keep a record of deleted data in a swap or
recovery file. .Similarly, files that have been viewed on the
Internet are often automatically downloaded into a temporary
directory or cache. The browser typically maintains a fixedy
amount of hard drive space devoted to these files, and the files
are only overwritten as they are replaced with more recently
downloaded or viewed content. Thus, the ability to retrieve
residue of an electronic file from a hard drive depends less on
‘when the file was downloaded or viewed than on a particular
user’s operating system, storage capacity, and computer habits.
Recovery of residue of electronic files from a hard drive
requires specialized tools and a controlled laboratory
environment.' Recovery also can require substantial time.

'd: Although some of the records called for by this

warrant might be found in the form of user-generated documents

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[Instrumentality Protocol]

 

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(such as word processing, picture, and movie files), digital
devices can contain other forms of electronic evidence as well.
In particular, records of how a digital device has been used,
what it has been used for, who has used it, and who has been
responsible for creating or maintaining recorder documents,
programs, applications and materials contained on the digital
devices are, as described further in the attachments, called for
by this warrant. Those records will not always be found in
digital data that is neatly segregable from the hard drive image
as a whole. Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

, once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has
been deleted from a word processing file). Virtual memory
paging systems can leave digital data on the hard drive that
show what tasks and processes on the computer were recently.
used. Web browsers, e-mail programs, and chat programs often
store configuration data on the hard drive that can reveal
information such as online nicknames and passwords. Operating
systems can record additional data, such as the attachment of
peripherals, the attachment of USB flash storage devices, and
the times the computer was in user Computer file systems can
record data about the dates files were created and the sequence
in which they were created. 'This data can be evidence of a
crime, indicate the identity of the user of the digital device,
or point toward the existence of evidence in other locations

Recovery of this data requires specialized tools’and a

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[Instrumentality Protocol]

 

 

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controlled laboratory environment, and also can require
substantial time.

e. Further, evidence of how a digital device has
been used, what it has been used for, and who has used it, may
be the absence of particular data on a digital device, For
example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

 

being controlled remotely by malicious software, it may be
necessary to show that malicious software that allows someone
else to control the digital device remotely is not present on
'the digital device, Evidence of the absence of particular data
on a digital device is not segregable from the digital device,
Analysis of the digital device as a whole to demonstrate the
absence of particular data requires specialized tools and a
controlled laboratory environment, and can require substantial
time.

f. Other than what has been described herein, to my
knowledgey the United States has not attempted to obtain this

data by other means.

VIII. CONCLUSION

34. Based on my training, experience and the facts set
forth above, I believe that there is probable cause to believe
that BRANK has violated: Title 18, United States Code, Section
875(d): Interstate Communications Containing Threats to Injure

the Property or Reputation of Another.

18
[Instrumentality Protocol]

 

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35. For all the reasons described above, there is probable
cause to believe that evidence of violations of Title 18, United
States Code, Section 875(d): Interstate Communications k
Containing Threats to Injure the Property or Reputation of
Another, as described above and in Attachment B of this
affidavit, will be found in a search of the SUBJECT PHONE, as`
further described above and in Attachment A of this affidavit,

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JAIME AGUIRRE, JR.
Special Agent

 

FBI
Subscribe to and sworn before me
thi 6th /Zy of March; 2015.
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HoNoRABLE\/mIcHAEL R. wILNER
UNITED STATES MAGISTRATE JUDGE .
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[Instrumentality Protocol]

 

